Case 4:23-cv-00088-WMR Document 2-1 Filed 05/09/23 Page 1 of 14


                                                4:23-cv-00088-WMR




               Exhibit A
       Case 4:23-cv-00088-WMR Document 2-1 Filed 05/09/23 Page 2 of 14




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION


COOSA RIVER BASIN INITIATIVE

                    Plaintiff

v.                                                Civil Action No.
                                                  4:23-cv-00088-WMR
MOUNT VERNON MILLS, INC. and
TOWN OF TRION, GEORGIA

                    Defendants


                      [PROPOSED] CONSENT DECREE

                                    RECITALS

      WHEREAS, Plaintiff Coosa River Basin Initiative (CRBI) is a 501(c)(3)

grassroots nonprofit environmental organization based in Rome, Georgia with the

mission to protect, preserve, and restore the upper Coosa River basin; and

      WHEREAS Defendant Mount Vernon Mills, Inc. (“Mount Vernon”) is a

domestic corporation that is the owner and operator of a textile finishing facility in

Trion, Georgia, which discharges industrial wastewater into the Town of Trion’s

Water Pollution Control Plant (“WPCP”); and

      WHEREAS Defendant Town of Trion, Georgia (“Trion”) is a municipality

located in North Georgia that operates the WPCP that receives Mount Vernon’s

industrial wastewater discharge.
                                          1
       Case 4:23-cv-00088-WMR Document 2-1 Filed 05/09/23 Page 3 of 14




      WHEREAS, on or about May 13, 2021, the City of Trion ceased the land

application of biosolids. Since May 13, 2021, the City of Trion has sent any

biosolids to a permitted MSW landfill.

      WHEREAS, CRBI alleges Mount Vernon and Trion have responsibility

and/or liability arising from the occurrence of certain PFAS in the Coosa watershed

under the Clean Water Act, 33 U.S.C. §§ 1251, et seq. (“CWA”) and the Resource

Conservation and Recovery Act 42 U.S.C. §§ 6901 et seq. (“RCRA”) as set forth in

CRBI’s April 8, 2022 and September 28, 2022 Notices of Intent to Sue issued to

Mount Vernon and Trion, respectively; and

      WHEREAS CRBI filed a Complaint naming Mount Vernon and Trion as

Defendants in the United States District Court for the Northern District of Georgia,

Case Number 4:23-cv-00088-WMR (the “Litigation”); and

      WHEREAS, Mount Vernon and Trion dispute such responsibility and/or

liability and admit no liability arising out of Plaintiff’s allegations in the Notices of

Intent to Sue or the Litigation; and

      WHEREAS, Plaintiff, Mount Vernon, and Trion have engaged in settlement

negotiations in an attempt to resolve Plaintiff’s claims against Mount Vernon and

Trion; and

      WHEREAS, the Parties, in consultation with counsel, hereby agree to resolve

the Litigation and any issues that arose or could have arisen in connection with the


                                           2
       Case 4:23-cv-00088-WMR Document 2-1 Filed 05/09/23 Page 4 of 14




Litigation in accordance with this Consent Decree, believing that settling the issues

without further litigation through a Consent Decree is the most appropriate means

of resolving the issues; and

      WHEREAS, a copy of the proposed Consent Decree was received by the

Attorney General of the United States and the EPA Administrator more than forty-

five (45) days before entry of this Consent Decree as required by 33 U.S.C. §

1365(c)(3); and

      WHEREAS, Plaintiff, Mount Vernon, and Trion recognize, and the Court by

entering this Consent Decree finds, that this Consent Decree has been negotiated by

the Parties in good faith and will avoid further litigation between the parties and that

this Consent Decree is fair, reasonable, and in the public interest.

  NOW THEREFORE, WITHOUT THE TRIAL OR ADJUDICATION OF
   ANY ISSUE OF FACT OR LAW AND WITHOUT ADMISSION BY
 DEFENDANTS OF ANY VIOLATIONS OR WRONGDOING, AND UPON
   CONSENT AND AGREEMENT OF THE PARTIES, IT IS HEREBY
      ORDERED, ADJUDGED AND DECREED AS FOLLOWS:

                                 I. JURISDICTION
      A.     This Court has subject matter jurisdiction over the Litigation pursuant

to 33 U.S.C. § 1365(a), and 28 U.S.C. § 1331.

      B.     Venue is proper in the Northern District of Georgia pursuant to 28

U.S.C. § 1391(b), and 33 U.S.C. § 1365(c)(1).




                                           3
      Case 4:23-cv-00088-WMR Document 2-1 Filed 05/09/23 Page 5 of 14




      C.     For purposes of entry of this Consent Decree and any action to enforce

this Consent Decree, Mount Vernon and Trion consent to this Court’s jurisdiction

under 33 U.S.C. § 1365(a).

                             II. INJUNCTIVE RELIEF

      A.     Elimination of PFAS. Mount Vernon will permanently eliminate its

use of all per- and polyfluoroalkyl substances, further defined as fluorinated

substances that contain at least one fully fluorinated methyl or methylene carbon

atom including known precursors thereto (“PFAS”) at its Trion Facility by or before

December 31, 2023. Mount Vernon agrees to issue a letter to CRBI confirming their

process changes to eliminate the use of PFAS at its Trion Facility. This Paragraph

II(A) will survive the termination or dissolution of this Consent Decree.

      B.     Technical Solution.     As of March 1, 2023, Mount Vernon has

implemented the following Technical Solution: Mount Vernon has isolated and

containerized Mount Vernon’s PFAS-containing industrial wastewater and Mount

Vernon will arrange for the transportation of the containerized industrial wastewater

for offsite treatment at a fully licensed hazardous waste incinerator. Mount Vernon

shall continue to operate the Technical Solution at Mount Vernon’s sole cost and

expense until the cessation of all PFAS as provided in Paragraph II(A), above.

      C.     Ongoing Monitoring of Industrial Discharge. Beginning within two

(2) months of implementing the Technical Solution, Mount Vernon and Trion will


                                         4
      Case 4:23-cv-00088-WMR Document 2-1 Filed 05/09/23 Page 6 of 14




conduct quarterly (once per every three months) sampling and analyze the samples

for the PFAS listed in Exhibit A.

        i.   Representative samples under this paragraph shall be collected on

             Mount Vernon’s property prior to discharge of the industrial

             wastewater to the Trion WPCP (“Discharge Samples”). The location

             of the Discharge Sampling point is reflected on Exhibit B.

       ii.   Sampling under this Section shall cease either (1) twelve (12) months

             following the cessation of all PFAS; (2) when the results of two

             consecutive quarterly sampling events are non-detect for all

             constituents analyzed; or 3) the Coosa River Basin Initiative consents

             to early termination, in Coosa River Basin Initiative’s sole discretion,

             whichever occurs first.

      iii.   Sampling conducted under this Section shall utilize the modified

             method Perfluorinated Alkyl Substances by Isotope Dilution (537.1

             Method), or another method equivalent to 537.1 method with isotope

             dilution.

       iv.   Mount Vernon will be responsible for the costs of sampling under this

             paragraph.




                                         5
      Case 4:23-cv-00088-WMR Document 2-1 Filed 05/09/23 Page 7 of 14




       v.   Mount Vernon and Trion will provide the results of this sampling to

            CRBI within fifteen (15) business days of receipt of the sampling

            results by Mount Vernon.

            II. ATTORNEY FEES/EXPERT FEES AND COSTS

The Parties have reached independent Settlement Agreements regarding attorney

fees, litigation costs and expenses, and expert consultant costs in connection with

this matter, among other terms.

                            III. CIVIL PENALTIES

      Within thirty (30) days of the entry of this Consent Decree by the Court,

Mount Vernon and Trion agree to pay $5,000 in civil penalties to the US Treasury

for any alleged violations of the CWA and RCRA.

                                  IV. RELEASE

      For the consideration herein and other good and valuable consideration, CRBI

hereby waives, releases, discharges, and covenants not to sue Mount Vernon and

Trion for any claims arising out of, or may in any way grow out of the facts giving

rise to CRBI’s April 8, 2022 and September 28, 2022 Notices of Intent to Sue issued

to Mount Vernon and Trion, respectively, or the Complaint (as attached hereto),

including, without limitation, any and all known or unknown claims which have

resulted and may result from the alleged act or omissions of either Mount Vernon or




                                        6
       Case 4:23-cv-00088-WMR Document 2-1 Filed 05/09/23 Page 8 of 14




Trion, including alleged violations of the Clean Water Act and/or the Resource

Conservation and Recovery Act 42 U.S.C. §§ 6901 et seq. (“RCRA”).

                                 V. DISSOLUTION

      Defendants can apply to the Court for dissolution of this Consent Decree after

Defendants have completed all requirements and made all payments due under

Paragraphs II and III. If not terminated earlier, after this Consent Decree has been in

effect for seven (7) years, and Defendants have paid and expended all amounts

required under the Consent Decree, the injunctive provisions in Paragraph I will

terminate automatically. Notwithstanding the forgoing, either party shall have the

right to request termination of this Decree for good cause shown on or after (5) years

from entry of this Decree by filing a Motion for Termination provided, however,

upon termination of this Consent Decree automatically or upon such earlier date as

provided in this Paragraph, the Provisions of Paragraph II(A) shall continue

regardless of the termination and shall remain an enforceable requirement subject to

the jurisdiction of the Court.

                                 VI. OTHER TERMS

      A.     Effective Date. This Consent Decree shall become effective on the date

it is entered by the Court following any required time period for notification and

consideration by the United States (“Effective Date”).




                                          7
       Case 4:23-cv-00088-WMR Document 2-1 Filed 05/09/23 Page 9 of 14




      B.     Effect of Settlement. This Consent Decree resolves the civil claims of

the Coosa River Basin Initiative as alleged in the Complaint through the Effective

Date. This Consent Decree in no way affects or relieves Mount Vernon or Trion of

their respective responsibilities to comply with Federal, State, and local laws,

regulations and applicable permits.

      C.     Administrative Review. The Parties acknowledge and agree that,

pursuant to 33 U.S.C. § 1365(c)(3), this Consent Decree cannot be entered or

effective prior to forty-five (45) days following the receipt of this Consent Decree

by the Attorney General and the EPA Administrator. Therefore, upon execution of

this Consent Decree by the Parties, Plaintiff shall serve copies of the Consent Decree

upon the EPA Administrator, Environmental Protection Agency, Washington, DC

20460, the U.S. Attorney General, Department of Justice, Citizen Suit Coordinator,

Room 2615, Washington, DC 20530, and EPA Regional Administrator, EPA Region

4, Sam Nunn Atlanta Federal Center, 61 Forsyth Street SW, Atlanta, GA 30303-

8960, in accordance with 40 C.F.R. § 135.5. The Parties shall also jointly lodge the

Consent Decree with the Court upon execution. Upon expiration of the 45-day

review period, so long as the reviewing authorities do not object to the entry of this

Consent Decree, the Parties shall jointly move the Court for entry of the Consent

Decree.




                                          8
      Case 4:23-cv-00088-WMR Document 2-1 Filed 05/09/23 Page 10 of 14




      D.     Effect of Entry or Lack of Entry. In the event of entry of this Consent

Decree, the Litigation will be dismissed with prejudice, and upon approval and entry

this Consent Decree shall constitute a final judgment of the Court as to the Parties.

If for any reason the reviewing authorities object to this Consent Decree and the

Court refuses to approve and/or enter this Consent Decree in the form presented, the

Parties shall retain all rights they had in this litigation before lodging of this Decree.

In the event the Court refuses to approve and/or enter this Consent Decree in the

form presented, or in the event the United States proposes modifications to this

Decree, the Parties shall negotiate in good faith in an attempt to resolve such

objection and/or refusal by the Court; however, the Parties reserve and shall retain

all rights to object to any modification proposed by the United States, the

Environmental Protection Division of the Georgia Department of Natural Resources,

or any other person or entity, whether during the comment period or otherwise.

      E.     Continuing Jurisdiction. The United States District Court for the

Northern District of Georgia shall have continuing jurisdiction to interpret and

enforce the terms and conditions of this Consent Decree to resolve disputes arising

hereunder, and for such other and further actions as they may be necessary or

appropriate in the construction or execution of the Consent Decree.

      F.     Entire Agreement. The Parties have reached independent confidential

Settlement Agreements related to the payment of attorney’s fees, expenses of


                                            9
      Case 4:23-cv-00088-WMR Document 2-1 Filed 05/09/23 Page 11 of 14




litigation, and other particulars. This Consent Decree, along with the independent

Settlement Agreements reached between and among the Parties, constitutes the

entire agreement among the Parties concerning the subject matter hereof and

supersedes all previous correspondence, communications, agreements and

understandings, whether oral or written, among the Parties or their representatives.

      G.     Modification. This Consent Decree may be modified only by an Order

issued from the Court, made upon the written consent of the Parties.

      H.     Authorization. Each Party represents and warrants that the person

signing this Consent Decree on behalf of such Party has been duly authorized to

enter into this Consent Decree on the Party’s behalf.

      I.     Successors and Assigns. This Consent Decree shall be binding upon

and inure to the benefit of the Parties and their respective successors and assigns.

      J.     Notices. The Parties shall provide one another with seven (7) days

written notice and opportunity to cure any alleged breach of this Consent Decree

before commencing an enforcement action. Such notice shall be given to all counsel

of record, as reflected on the Court’s docket report, and may be given via email,

facsimile, first class mail or nationally-recognized courier service.

      K.     Counterparts. This Consent Decree may be signed in counterparts.

Facsimile, electronic and scanned signatures or copies of this Consent Decree shall

be effective as originals for all purposes.


                                              10
Case 4:23-cv-00088-WMR Document 2-1 Filed 05/09/23 Page 12 of 14




                 ENTERED this ______ day of _______________, 2023.


                             __________________________________
                             The Honorable [JUDGE]
                             Judge, United States District Court
                             Northern District of Georgia




                               11
    Case 4:23-cv-00088-WMR Document 2-1 Filed 05/09/23 Page 13 of 14




                           EXHIBIT A
                           Scope of Sampling

 Perfluorooctanoic acid (PFOA)

 Perfluorooctanesulfonic acid (PFOS)

 Perfluorobutane sulfonic acid (PFBS)

 Perfluorohexanoic acid (PFHxA)

 Perfluoropentanoic Acid (PFPeA)

 Perfluorobutanoic acid (PFBA)

 Perfluoropentane sulfonic acid (PFPeS)

 Perfluoroheptanoic acid (PFHpA)

 Perfluoroheptane sulfonic acid (PFHpS)

 Perfluorononanoic acid (PFNA)

 Perfluorodecanoic acid (PFDA)

 Perfluoroundecanoic acid (PFUnDA)

 Perfluorododecanoic acid (PFDOA)

 Perfluorotridecanoic acid (PFTrDA)

 Perfluorotetradecanoic acid (PFTA)

 Hexafluoropropyleneoxide dimer acid (HFPO‐DA) (Gen‐X)

   4,8‐Dioxa‐3H‐Perfluorononanoic acid (ADONA)

 11‐Chloroeicosafluoro‐3‐oxaundecane‐1‐sulfonic acid (11‐Cl‐PF3OUdS)

 9‐Chlorohexadecafluoro‐3‐oxanonane‐1‐sulfonic acid (9‐Cl‐PF3ONS)
Case 4:23-cv-00088-WMR Document 2-1 Filed 05/09/23 Page 14 of 14




                       EXHIBIT B
